               Case 2:21-cv-00141-MJP Document 37 Filed 11/24/21 Page 1 of 2




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 7
                               UNITED STATES DISTRICT COURT
 8
                              WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 9

10          NEW YORK LIFE INSURANCE                         CASE NO. C21-141 MJP
            COMPANY,
11                                                          ORDER GRANTING STIPULATED
                                  Plaintiff,                MOTION TO SUPPLEMENT
12                                                          RECORD ON CERTIFICATION
                   v.
13
            SIMON R MITCHELL,
14
                                  Defendant.
15

16          This matter is before the Court on the Parties’ stipulated motion to supplement the record

17   on certification to the Washington Supreme Court. (Dkt. No. 36.) The Court GRANTS the

18   motion.

19          The Court granted Defendant’s motion to certify questions to the Washington Supreme

20   Court, (Dkt. No. 33), and directed the Clerk to submit to the Washington Supreme Court

21   certified copies of the docket sheet and all documents filed under Docket Numbers 1, 12, 15, and

22   33, (Dkt. No. 34). These documents include the pleadings and the Court’s order on certification.

23   The Parties now ask the Court to submit documents filed under Docket Numbers 18–32 as well.

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     ORDER GRANTING STIPULATED MOTION TO SUPPLEMENT RECORD ON CERTIFICATION - 1
              Case 2:21-cv-00141-MJP Document 37 Filed 11/24/21 Page 2 of 2




 1   These documents comprise all briefing and supporting declarations for Defendant’s motions for

 2   summary judgment, to stay discovery and for a protective order, and to certify questions to the

 3   Washington Supreme Court. (Dkt. No. 36.)

 4          “Certificate procedure shall include and be based upon the record and may include a

 5   supplemental record.” Wash. Rev. Code § 2.60.030(2). The “record” on certification is defined

 6   as:

 7          (a) A stipulation of facts approved by the federal court showing the nature of the case and
            the circumstances out of which the question of law arises or such part of the pleadings,
 8          proceedings and testimony in the cause pending before the federal court as in its opinion
            is necessary to enable the supreme court to answer the question submitted; (b) a statement
 9          of the question of local law certified for answer. The record shall contain a certificate
            under the official seal of the court, signed by the chief judge of a multi-judge federal
10          court or judge of the district court utilizing certificate procedure stating that the record
            contains all matters in the pending cause deemed material for consideration of the local
11          law question certified for answer.

12   Wash. Rev. Code § 2.60.010(4). The Court accepts the Parties’ position that the additional

13   portions of the record may be necessary to enable the Washington Supreme Court to answer the

14   question submitted and directs the Clerk to submit to the Washington Supreme Court certified

15   copies of this Order and all documents filed under Docket Numbers 18–32, 34, and 36. The

16   record so compiled contains all matters in the pending case deemed material for consideration of

17   the local-law questions certified for answer.

18          The clerk is ordered to provide copies of this order to all counsel.

19          Dated November 24, 2021.

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                                                          A
                                                          Marsha J. Pechman
22                                                        United States Senior District Judge

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     ORDER GRANTING STIPULATED MOTION TO SUPPLEMENT RECORD ON CERTIFICATION - 2
